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AO 450 (Rev. 5/85) Judgment in a Civil Case r


                         UNITED STATES DISTRICT COURT
                               *****            DISTRICT OF   NEVADA

RONALD O'NEAL CALVIN,

                 Petitioner,                      JUDGMENT IN A CIVIL CASE
        V.
                                                  CASE NUMBER: 3:08-CV-00033-LRH-RAM

E. K. MCDANIELS, et al.,

                 Respondents.


        Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
        and the jury has rendered its verdict.

        Decision by Court. This action came to trial or hearing before the Court. The issues have been
        tried or heard and a decision has been rendered.

 X      Decision by Court. This action came to be considered before the Court. The issues have been
        considered and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED that Petitioner's Motion to Answer Order (#41) in which
he asks to dismiss this action while he returns to state court is GRANTED. This action is DISMISSED
without prejudice.




          October 7. 2009                                     LANCE S. WILSON
                                                                  Clerk


                                                              D. R. Morgan
                                                                   Deputy Clerk
